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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     BENJAMIN D. GALLOWAY, #214897
3    SEAN RIORDAN, #255752
     Assistant Federal Defenders
4    Designated Counsel for Service
     801 I Street, 3rd Floor
5    Sacramento, CA 95814
     Telephone: (916) 498-5700
6
     Attorney for Defendant
7    JAMAL SHEHADEH
8
                                IN THE UNITED STATES DISTRICT COURT
9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  )   Case No. 2:16-cr-038 MCE
                                                )
12                           Plaintiff,         )   STIPULATION AND ORDER TO SET
                                                )   BRIEFING SCHEDULE
13         v.                                   )
                                                )
14   JAMAL SHEHADEH, et al.,                    )   Judge: Hon. Morrison C. England, Jr.
                                                )
15                           Defendant.         )
                                                )
16
17
            Defendant, Jamal Shehadeh, by and through his attorneys, Assistant Federal Defenders,
18
     Matthew C. Bockmon, Benjamin D. Galloway and Sean Riordan, and plaintiff, United States of
19
     America, by and through its counsel, Assistant United States Attorneys Christopher S. Hales and
20
     Michael D. Anderson, hereby stipulate to set the following briefing schedule. The parties
21
     request that the government’s opposition be due on or before August 17, 2017, the defendant’s
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     reply be filed no later than August 24, 2017. The hearing on the Motion to Exclude Prior Bad
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     Acts Evidence (CR 123) shall be heard on August 31, 2017 at 10:00 a.m.
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25
26
27                        [REMAINDER OF PAGE LEFT BLANK INTENTIONALLY]

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      Briefing Schedule                             -1-
     Case 2:16-cr-00038-DC-CKD Document 128 Filed 08/09/17 Page 2 of 3


1                                       Respectfully submitted,
2    DATED: August 4, 2017              HEATHER E. WILLIAMS
                                        Federal Defender
3
                                        /s/ Matthew Bockmon
4
                                        MATTHEW BOCKMON
5                                       Assistant Federal Defender

6                                       /s/ Benjamin Galloway
                                        BENJAMIN GALLOWAY
7                                       Assistant Federal Defender
8
                                        /s/ Sean Riordan
9                                       SEAN RIORDAN
                                        Assistant Federal Defender
10
                                        Attorneys for JAMAL SHEHADEH
11
12   Dated: August 4, 2017              PHILLIP A. TALBERT
                                        United States Attorney
13
                                        /s/ Christopher S. Hales
14                                      CHRISTOPHER S. HALES
15                                      Assistant United States Attorney

16                                      /s/ Michael D. Anderson
                                        MICHAEL D. ANDERSON
17                                      Assistant United States Attorney
18                                      Attorneys for Plaintiff
19                                      UNITED STATES OF AMERICA

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      Briefing Schedule                   -2-
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1                                                ORDER
2
            Pursuant to the parties’ stipulation, and good cause appearing therefor, the government’s
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     opposition is due on or before August 17, 2017, and the defendant’s reply shall be filed no later
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     than August 24, 2017. The motion hearing is set for August 31, 2017 at 10:00 a.m.
5
            IT IS SO ORDERED.
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     Dated: August 8, 2017
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      Briefing Schedule                              -3-
